  

Notice of Appeal

 

 

MIED (Rev. 04/09/06)

    

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

GHAZALA SIDDIQUI, ET AL.,

 

Plaintiff(s), Case No. 17-13351
Vv. Judge Arthur J. Tarnow
UNITED STATES OF AMERICA Magistrate Judge David R. Grand
Defendant(s).
/
NOTICE OF APPEAL
Notice is hereby given that_GHAZALA SIDDIQUI, ET AL., appeals to

 

the United States Court of Appeals for the Sixth Circuit from the: [Y] Judgment Order

CI Other:

entered in this action on November 27, 2018

 

 

Date: December 10, 2018

 

Counsel is: RETAINED P78359

THE SHIRAZ LAW FIRM, PLLC.
20245 W. 12 MILE ROAD

SUITE 215

SOUTHFIELD, MICHIGAN 48076
(248) 419-0678
INFO@SHIRAZLAWFIRM.COM

Appellant: Please file this form with the District Court Clerk's Office. If you are paying the filing fee, please make your
$505.00 check payable to: Clerk, U.S. District Court.
Case 2:17-cv-13351-AJT-DRG ECF No. 23 filed 12/10/18 PagelD.303 Page 2 of 2

CERTIFICATION OF SERVICE
I hereby certify that on December 10, 2018, I electronically filed the NOTICE OF
APPEAL with the Clerk of the Court using the ECF system, which will send notification of such
filing to the following and all registered participants therein:

Zak Toomey (MO61618)
Assistant U.S. Attorney

211 W. Fort Street, Suite 2001
Detroit, MI. 48226

(313) 226-9617

zak.toomey@usdoj.gov

Respectfully submitted,

By: /s/ SHIRAZ K. KHAN
SHIRAZ K. KHAN (P78359)

THE SHIRAZ LAW FIRM, PLLC.
20245 W. 12 Mile Rd., Suite 215
Southfield, MI. 48076

Telephone: (248) 419-0678

Fax: (248) 817-4833

Email: info@shirazlawfirm.com
Attorney for Plaintiffs

Dated: December 10, 2018
